873 F.2d 1437Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Michael BEMBRY, Sr., Plaintiff-Appellant,v.Kurt FOX, Defendant-Appellee.
    No. 89-7503.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 15, 1989.Decided:  April 5, 1989.
    
      James Michael Bembry, Sr., appellant pro se.
      Before K.K. HALL and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      James Bembry appeals the district court's dismissal of his 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    